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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELBERT BROWN, et al.,

                Plaintiffs,

        v.                                                   Civil Action No. 15-01380 (KBJ)

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                Defendant.


             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
             OF DEFENDANT’S CONSENT MOTION TO STAY LITIGATION

       In support of its Consent Motion to Stay Litigation (Consent Motion), defendant the

District of Columbia (the District) submits the following:

   1. Rule 6(b)(1) of the Federal Rules of Civil Procedure;

   2. Plaintiffs’ consent to the requested stay;

   3. The District’s showing of good cause in support of the Consent Motion; and

   4. The inherent power of the Court.

       The District seeks a 60-day stay, until September 24, 2019, for good cause. The requested

stay will allow the Parties to discuss possible resolution of this matter. Accordingly, the District

requests that the Court grant the Consent Motion and enter the proposed order.


Dated: July 26, 2019.                 Respectfully submitted,

                                      KARL A. RACINE
                                      Attorney General for the District of Columbia

                                      TONI MICHELLE JACKSON
                                      Deputy Attorney General
                                      Public Interest Division
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